            Case 18-02154-als7              Doc 42 Filed 12/29/18 Entered 12/29/18 23:23:58                               Desc
                                          Imaged Certificate of Notice Page 1 of 3
                                               United States Bankruptcy Court
                                                 Southern District of Iowa
In re:                                                                                                     Case No. 18-02154-als
Kennard P Kling                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0863-4                  User: admin                        Page 1 of 1                          Date Rcvd: Dec 27, 2018
                                      Form ID: 1318                      Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 29, 2018.
db             +Kennard P Kling,    2220 - 230th St.,    Washington, IA 52353-9270
cr             +Channel Bio LLC,    c/o Christopher L. Low,    2536 73rd St.,   Des Moines, IA 50322-4700
cr             +Wells Fargo Bank NA,    c/o Southlaw PC,    13160 Foster Street, Ste 100,
                 Overland Park, KS 66213-2848
802338941       Channel Bio, LLC,    PO Box 204092,    Dallas, TX 75320-4092
802338942      +Christopher L. Low,    2536 73rd St,    Des Moines, IA 50322-4700
802338943      +Christopher L. Low,    2536 73rd St.,    Urbandale, IA 50322-4700
802338944      +Cindy A. Kling,    2220 230th St.,    Washington, IA 52353-9270
802338945      +Gabeline Trucking Corporation,     25900 205th Ave.,   Yarmouth, IA 52660-9708
802338946      +NuTech Seed,    2321 North Loop Dr., Suite 120,    Ames, IA 50010-8218
802338947      +Pfister Seeds LLC,    201 Knollwood Drive Suite A,    Champaign, IL 61820-2067
802338948      +Progreesive Seed Service,    2361 220th St.,    Washington, IA 52353-9238
802338949      +Rodger M. Turbak,    13160 Foster Street, Suite 100,    Overland Park, KS 66213-2848
802338950       Seterus,   PO Box 1077,    Hartford, CT 06143-1077
802338951      +Tom Wide,    2361 - 220th St.,   Washington, IA 52353-9238

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr              EDI: QWBHUISINGA.COM Dec 28 2018 05:08:00     Wesley B Huisinga,   115 3rd St SE, Ste 500,
                 PO Box 2107,   Cedar Rapids, IA 52406-2107
802338952       E-mail/Text: sbohn@washsb.com Dec 28 2018 00:11:24     Washington State Bank,
                 121 S. Marion Ave.,   P O Box 311,   Washington, IA 52353-0311
802338953       EDI: WFFC.COM Dec 28 2018 05:08:00     Wells Fargo Bank, N.A.,   PO Box 9343,
                 Des Moines, IA 50306-9343
                                                                                            TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +Pfister Seeds LLC,   201 Knollwood Drive, Suite A,   Champaign, IL 61820-2067
                                                                                              TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 29, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 27, 2018 at the address(es) listed below:
              Benjamin W Hopkins    on behalf of Creditor   Federal National Mortgage Association ("Fannie Mae"),
               creditor c/o Seterus, Inc. rbennethum@petosalaw.com, jmcvay@petosalaw.com
              Robert G Schlegel   on behalf of Debtor Kennard P Kling robert@washialaw.com
              United States Trustee    USTPRegion12.DM.ECF@usdoj.gov
              Wesley B Huisinga   wbh@shuttleworthlaw.com,
               whuisinga@ecf.epiqsystems.com;cam@shuttleworthlaw.com,brandy@shuttleworthlaw.com
                                                                                             TOTAL: 4
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Information to identify the case:
Debtor 1
                       Kennard P Kling                                             Social Security number or ITIN   xxx−xx−8825
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Southern District of Iowa

Case number:          18−02154−als7


Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Kennard P Kling
             aka KP Kling


             12/27/18                                                      By the court: Judge Anita L. Shodeen
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.
However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.


                                                     For more information, see page 2




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                                     page 2
